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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 Ms. Gulê Sheikh,                      )
                                       )      No. 1:17-cv-8144
 Plaintiff,                            )
                                       )
       v.                              )
                                       )
 Markable, Inc., as successor in       )
 Interest of Tagwire Media, LLC,       )
                                       )
 Defendant.                            )

                              Notice of E-Filing

 To:    Yanling Jiang
        JiangIP LLC
        233 South Wacker Drive, 84th Floor
        Chicago, IL 60606
        yanling@jiangip.com
        PLEASE TAKE NOTICE that on December 20, 2017, the
 undersigned caused the attached Certificate of Service to be electronically
 filed via the Clerk of The Circuit Court e-system, which is hereby served
 upon you.

                                      Respectfully submitted,

                                      /s/Alexander I. Passo
                                      Alexander I. Passo
                                      Patterson Law Firm, LLC
                                      One North LaSalle Street, Suite 2100
                                      Chicago, IL 60602
                                      Tel. 312-223-1699
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                                      Attorney for Plaintiff
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                             Certificate of Service

        The undersigned, an attorney, does hereby certify that he caused a
 true and correct copy of the foregoing Plaintiff’s Responses to the E-
 Discovery Program’s Standard Interrogatories to be served upon the
 following by electronic mail and via first class United States Mail by
 depositing the same in the U.S. mail at One North LaSalle, Suite 2100,
 Chicago, IL 60602, which was addressed to counsel of record on
 December 20th, 2017, with proper postage prepaid:

       Yanling Jiang
       JiangIP LLC
       233 South Wacker Drive, 84th Floor
       Chicago, IL 60606
       yanling@jiangip.com
                                              /s/Alexander I. Passo
